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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                  x
                                                    :
UNITED STATES OF AMERICA,
                                                    :
                Plaintiff,
                                                    :
                - v. -
                                                    :
THE M/Y AMADEA, A MOTOR YACHT
BEARING INTERNATIONAL MARITIME                      :           23 Civ. 9304 (DEH)
ORGANIZATION NO. 1012531, INCLUDING
ALL FIXTURES, FITTINGS, MANUALS,                    :
STOCKS, STORES, INVENTORIES, AND
EACH LIFEBOAT, TENDER, AND OTHER                    :
APPURTENANCE THERETO,
                                                    :
                Defendant-In-Rem.
                                                    :
----------------------------------                  x

                             DECLARATION OF JENNIFER CRANE

       I, Jennifer Crane, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

       1.       I am Assistant Chief in the Personal Property Unit of the Asset Forfeiture

Division of the U.S. Marshals Service (“USMS”). I have personal knowledge of the facts set

forth in this declaration and, if called upon as a witness, could and would testify competently

thereto.

       2.       I share responsibility for managing the maintenance and upkeep of the M/Y

Amadea, Int’l Maritime No. 1012531, while it is in the custody of the USMS.

       3.       Maintaining the Amadea is costing the U.S. Marshals Service approximately

$600,000 per month. These costs can be itemized as follows:

                a. Approximately $360,000 per month for crew salary.

                b. Approximately $75,000 per month for fuel.
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                c. Approximately $165,000 per month in other expenses, including maintenance,

                   crew food, waste removal, and miscellaneous expenses.

       4.       USMS has been incurring these monthly costs since June 2022.

       5.       In addition to these monthly costs, the annual insurance premium for the Amadea

is $1,725,000. USMS is making a premium payment in this amount this month.

       6.       The Amadea is scheduled to go to dry dock in March 2024 with an estimated cost

of $5.6 million. Dry dockingis a process in which a vessel is taken out of the water for the

purpose of making certain known and required repairs. This is required to maintain insurance

coverage and is necessary to maintain the vessel’s classification, which affects its value. The

upcoming dry docking is expected to take approximately two months, during which USMS has

negotiated to not pay the above-referenced monthly costs, which USMS will resume paying

when the Amadea is returned to the water in May 2024.

       I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct.



Signed this 9th day of February, 2024, in Miami, Florida.
                                                                  Digitally signed by JENNIFER
                                       JENNIFER CRANE CRANE
                                                      Date: 2024.02.09 19:59:18 -05'00'

                                                 Jennifer Crane




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